 4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 1 of 39



                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF ARKANSAS

RE:    CALEB J. BEENE and MICHELLE BEENE                          CASE NO. 4:19-bk-11110
                                                                        CHAPTER 7

                 SECURED CREDITOR FIRST SERVICE BANK’S
              MOTION FOR RELIEF FROM STAY AND ABANDONMENT

       Comes now First Service Bank (hereinafter referred to as “First Service”), Secured

Creditor in this matter, by and through its attorneys, MILLAR JILES, LLP, and for its Motion

for Relief from Stay, states as follows:

       1.     This Court has jurisdiction over the parties and subject matter herein by virtue

of Title 11 of the United States Code.

       2.     On January 23, 2017, Debtors Caleb J. Beene, individually and in his

capacity as sole proprietor of Beene Poultry Farm and Michelle Beene entered into a

Business Loan Agreement with First Service whereby First Service to make a loan to

Debtors in the amount of Three Hundred Fifty Four Thousand Five Hundred and No/100

Dollars ($354,500.00). A true and correct copy of the Business Loan Agreement is

attached hereto as Exhibit No. 1 and is incorporated herein by reference as if fully set out

word for word.

       3.     Pursuant to the Business Loan Agreement, on January 23, 2017 the Debtors

jointly and severally made a Commercial Promissory Note payable to First Service in the

principal amount of Three Hundred Fifty Four Thousand Five Hundred and No/100 Dollars

($354,500.00). The Commercial Promissory Note dated January 23, 2017, was extended

pursuant to a Commercial Promissory Note Extension of Current Obligation dated February

23, 2018. The Commercial Promissory Note dated January 23, 2017 and the Commercial

Promissory Note Extension of Current Obligation dated February 23, 2018 shall be
 4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 2 of 39



hereinafter collectively referred to as the “Note”). A true and correct copy of the Note is

attached hereto as Exhibit No. 2 and is incorporated herein by reference as if fully set out

word for word.

       4.     As security for the indebtedness evidenced by the Note, on January 23, 2017

the Debtors executed a Commercial Real Estate Mortgage (hereinafter referred to as the

“Mortgage”) thereby granting First Service a first lien security interest in and to the following

real property located at 18205 Highway 154, Danville, Arkansas (hereinafter referred to as

the “Real Property”):

       A PART OF THE NE ¼ OF THE SE ¼ OF SECTION 4, T-5-N, R-21-W, IN
       YELL COUNTY, ARKANSAS, AND BEING MORE PARTICULARLY
       DESCRIBED AS: BEGINNING AT THE NW-CORNER OF THE NE ¼ OF
       THE SE ¼; THENCE S 88°15'00" E, ALONG THE NORTH LINE OF THE NE
       ¼ OF THE SE ¼, A DISTANCE OF 660.00 FEET; THENCE S 00°11'55" W,
       A DISTANCE OF 1030.00 FEET; THENCE S 89°19'53" E, A DISTANCE OF
       374.00 FEET; THENCE S 00°11'55" W, A DISTANCE OF 299.58 FEET TO
       THE SOUTH LINE OF THE NE ¼ OF THE SE ¼; THENCE, ALONG THE
       SOUTH LINE, N 88°49'03" W, A DISTANCE OF 1033.90 FEET TO THE
       SW-CORNER OF THE NE ¼ OF THE SE ¼; THENCE N 00°11'55" E, A
       DISTANCE OF 1332.76 FEET TO THE POINT OF BEGINNING.

The Mortgage was filed and recorded in the Official Records of Yell County, Arkansas, on

January 25, 2017, in Book 565 at Pages 394-401. A true and correct copy of the Mortgage

is attached hereto as Exhibit No. 3 and is incorporated herein by reference as if fully set

out word for word.

       5.     As additional security for the indebtedness evidenced by the Note, and as a

material inducement to First Service to make the loan evidenced by the Note, on January

23, 2017 the Debtors executed a an Agricultural Security Agreement (hereinafter referred

to as the “Security Agreement”) thereby granting to First Service a first lien security interest

in all Equipment of Debtors, including, without limitation the following specific property of

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 4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 3 of 39



Debtors (hereinafter referred to as the “Collateral”):

       ALL FARM EQUIPMENT, NOW OWNED OR ACQUIRED HEREAFTER,
       INCLUDING BUT NOT LIMITED TO GENERATORS, TRANSFER
       SWITCHES, FUEL TANKS, SHEDS, LINES OF FEEDERS, HOPPERS,
       FEED LINE AUGER MOTORS, IPLUS CONTROL PANS, WINCHES FOR
       FEED LINES, BINS, FILL SYSTEMS, DIRECT DRIVE POWER UNITS,
       LINES OF DRINKERS, REGULATORS, MIDLINE AIR VENTS, END KITS,
       AV SERIES TUBE BROODERS ON BROOD END, AV SERIES TUBE
       BROODERS ON GROW OUT END, ALL LIGHTING, HIRED HAND
       TUNNEL FANS, STIR FANS, HIRED HAND VENT FANS, VENT DOORS,
       VENT MACHINE, PLATINUM PLUS CONTROLLER WITH TOGGLE RELAY
       PANELS, STATIC PRESSURE MODULE, ELECTRIC WATER METERS,
       TEMP PROBES, OUTSIDE TEMP PROBES, SURGE PROTECTOR,
       COMMUNICATOR ALARM, COPPER WIRING, MIGRATION FENCES,
       MEDICATORS, STEP LADDERS, TRASH CANS, DRILL AND CRANKS,
       HAND CRANKS, LITTLER BLADE, BLOWER, HOUSE KEEPERS,
       POULTRY HOUSE WASHER, AND ASSIGNMENT OF GROWER CHECKS
       BETWEEN DEBTOR AND WAYNE FARMS, LLC

First Service perfected its security interest in the Collateral pursuant: (i) a UCC Financing

Statement which was filed and recorded with the Circuit Clerk of Yell County, Arkansas,

in Book 565 at Pages 391-393, and (ii) a UCC Financing Statement filed with the Arkansas

Secretary of State as Filing Number 40000141726853. A true and correct copy of the

Security Agreement and the UCC Financing Statements is attached hereto as Exhibit No.

4 and is incorporated herein by reference as if fully set out word for word.

       6.     As of March 12, 2019, there is due and owing by Debtors jointly and severally

on the Note the sum of on the Note the sum of Three Hundred Ten Thousand Eight

Hundred Fifty Four and 69/100 Dollars ($310,854.69) together with accrued interest, late

fees, and costs of collection, including attorneys’ fees. Interest continues to accrue on the

Note from March 12, 2019, at the rate of Sixty and 58/100 Dollars ($60.58) per diem.

       7.     The Real Property and Collateral were used by the Debtors in their poultry

farm operations.

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 4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 4 of 39



       8.        Upon information and belief, the Debtors are not currently farming poultry.

       9.        The automatic stay should be lifted and the Real Property and Collateral

should be abandoned pursuant to 11 USC § 362(d)(2). As evidenced by the Debtors’

schedules, there is no equity in the Real Property and Collateral, and the Real Property

and Collateral are not necessary for an effective reorganization as the Debtors have

ceased poultry farming operations.

       10.       The automatic stay should be lifted and the Real Property and Collateral and

should further be abandoned pursuant to 11 USC § 362(d)(1) for cause. The Debtors have

failed to state their intention with regard to Real Property and Collateral in their schedules.

Further, it is unknown if the Real Property and Collateral is currently insured.

       11.       The Real Property and Collateral should be abandoned pursuant to 11 USC

§ 554 as to insure and otherwise care for the Real Property and Collateral is burdensome

to the estate and the Real Property and Collateral are of inconsequential value or benefit

to the Estate.

       12.       The Collateral should further be abandoned pursuant to 11 USC § 554 as the

Debtors have failed to schedule the Collateral as required by 11 USC § 521(a)(1).

       13.       The Debtors have no right, privilege, power, or authority to alter and/or modify

the rights of holders of secured claims, including First Service, if the secured creditor has

a security interest in the Real Property or Collateral.

       14.       This Court should immediately set these matters for hearing pursuant to 11

USC § 362(e) within the time limits prescribed therein or sooner and no extension should

be granted nor should there be any involuntary waiver of such mandatory time limits.



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 4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 5 of 39



       15.      First Service should be granted its attorneys’ fees and costs incurred herein

consistent with the loan documents, the laws of the State of Arkansas, and the United

States Bankruptcy Code.

       WHEREFORE, premises considered, First Service prays that this Court will Order:

       A.       abandoning the Real Property and Collateral immediately pursuant to 11

USC § 554, and that First Service be granted relief from the automatic stay entered

against it as provided in 11 USC § 362;

       B.       that the automatic stay entered against First Service should be modified

and lifted to allow First Service to proceed to foreclose its interest in the Real Property and

Collateral;

       C.       that the Debtors not be allowed to modify or alter any property rights of First

Service; and,

       D.       that First Service be granted its costs, attorneys’ fees and any other remedy

and relief available to it either in law or in equity pursuant to the United States Bankruptcy

Code, Rules of Bankruptcy Procedure, laws of the State of Arkansas, and other applicable




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 4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 6 of 39



state and federal statutes.

                                                         Respectfully submitted,

                                                         MILLAR JILES, LLP
                                                         The Frauenthal Building
                                                         904 Front Street
                                                         Conway, Arkansas 72032
                                                         (501) 329-1133
                                                         gjiles@millarjileslaw.com

March 12, 2019                                           By: /s/ Gary D. Jiles
                                                             Gary D. Jiles (88-118)

                                                         Attorneys for Secured Creditor,
                                                         First Service Bank

                               CERTIFICATE OF SERVICE

       I, Gary D. Jiles, do hereby certify that on this 12th day of March, 2019, a copy of the
foregoing Secured Creditor First Service Bank’s Motion for Relief from Stay and
Abandonment has been served, via the CM/ECF system, on the following:

       Gregory W. Harris, Esq.                    Richard L. Cox
       Attorney at Law                            Chapter 7 Panel Trustee
       510 West 4th, Suite A                      364 Long Point Road
       North Little Rock, Arkansas 72114          Hot Springs, Arkansas 71913
       <lgwharris@comcast.net>                    <rlcpa@hsnp.com>



                                                         /s/ Gary D. Jiles
                                                         Gary D. Jiles




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4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 7 of 39




                                                                     EXHIBIT NO. 1
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 8 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 9 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 10 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 11 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 12 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 13 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 14 of 39




                                                                     EXHIBIT NO. 2
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 15 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 16 of 39
                4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 17 of 39

I r'4,
             COMMERCIAL PROMISSORY NOTE
             NXTENSION OF CURRENT OBLIGATION

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                                  t6            February23,2018                   $328,552.55            |        Iamary23,2o27                  609           I           7139
              LOAN PURPOSE: .Extend February payment and rc-amortize payments over the remaining term

                                                                            Tbis note is an ex8eosion        of

                                                 .t6                                                                                                    $354J00.00


         BORROWER INFORMATION
         CALEBJERELBEENE                                                                                 MICHELLELYNNBEENE
         18205I{WY 154                                                                                    18205     STATEHWy      154
         DANVILLE, AR 72833                                                                              DANVILLE, AR 72833


         NOTE. This CorDmercial Promissory Note will be referred to in this document as the "Note.n
         LENDER. "l,endef mems First Service Bmk, Mountain View whose addregs is 410 Sylamore Avenrre, p,O. Box 1106, Mountain View,
         Arkan$as 72560, its successors and assigns.
         BORROWER "Borrower" means each person or legal entity id€dified above in the BORROWER INFORMATION section who signs rhis
         Not€.
         PR0MISE To PAY. For value receive4 receipt of which is hereby acknowledged, on or before &e Matriry Da69, the Borrower promiscs to
         payrhe princtpal amount o!!$ee Hundred TweaV-eight Tbousand Five Hrmdred Fiftrtwo and 55/100 ootfirs
                                                                                                                         1fizA,s52.55) andall interesr
         on the outstandinglrinciFgl hlaace and any other charges, including service charges, to the o,rder of Lender at its ofrce at the
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         above or at such otber placc as l*nder may dcsignate io mitiag. The Borrower will-make all payreaB in tawfirl money of the
                                                                                                                                        U*tJ States of
         America.
          PAYMANT SCrrr''Dtt1p. This Nott will be paid acoording to tlrc following schedule: 35 consecutive paymenie of principal and inrerest
         begimirg-on May 23,2-018 aad continuing on the same day oieach quarter thereafter. The initial payment *f te in Os amouni
                                                                                                                                            orSraoqrs+.
         This will be followed by I paynoent of p,rincipal and interpst in the amount of $12,043.04 on January 23, 2027. The unpaid primipai
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         this Note, together with alt rccrued interest 6nd charges owing in conaection therewittr, shall be due and paf,abte .i A" f.a"tiity-n
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         Paymefis rcceivod by the bnder from &e Borro*er for applicatioo to this Noe may be applied to the Bot*w*s oOtigutions rmder;his Nole i,,
         such orderas determinod by tre Lender.
         IIr{TEREST RATE AND SCSEDIJI.BD PAYMENT CIIANGES. Interest will begin to accme on the da6 of tbis Note. Thc initial
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         int€rcst rate on this Note will be 6.2500l" per annrnL This intercst rate may chmge on Jarruary 23, 2A1p., and on the same
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         thcreafrer. Each date on whic,fr the interest rat€ may chg-S9 ie called the "Cbaage Date." negiodng witb the firs
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         calculate the new interest rare b3sed on kime Rate as publish€d in the Wall Sheet Journsl in eFect dttre
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         percentagc poinn (the "Margia").
         lf the lndex is not arrailrble at the time of the Change Date, Lendcr will choose a ncw lndsx which is bascd on comparablc inforrnation- The
         Index is rsed solely to esbblish a base from which the achral rate of interest payable under the Note will be calcuhted, and
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         any actual         rxe of interest chatged by my tender to any prticular borrower.
         Nothing contained herein shall be construed ar to require the Borower to pay intsrest at a greater rate than the muimum allowd
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         however, ftom any circumstances, Borrower pys int€rest at I greater rate than the rna:drmrm allowed by law, the obligtio
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         be reduced to an amosnt cotr{tut€d 8t the highst iate ofinteres permissible undet applicable taw aad if,iio *y r".ton-r"l"t
         receives interest in an amount which would be deerned unlawfrrl under applicable lav', such interc$ $;U Ue
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         owe4 in lrndei's sole discretion, or as otherwise allowd by applicabte law. An insease in thc intercst rate will msarfiin a frigner pay-*t
         amount. Int9rest on this Note is calculated on at Actud{I60 d,ry-Airis. This calculation *rtlrod r""G io, nigho rtrr"tive inmegi'rae'*rm
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         nrrm€ric interest rat€ stated in this Nde.
         LATE PAYMENT CHARGE. If any reguired palmeat is more than l0                                          days late, then at Lrnder's option, Lender   will   assess a lale paynr.ent
             of 10.000% ofthe amount ofthe regula'rly scheduled payrnent then past due, subject to a minirmrm charge of $25.00
         charge
         PREPAYMENT PENALTY. This Nole js zubject to aprepaymentperulty- Peyment of allunpaid princlpal, accrued urd rnpaid interesrrd all
         other fees then ortstanding prior to the Matudty Date                   will   re$ult in a penalty that shall be eqrul to: S"/"         outstanding prirdrpal grring rhe       firrt
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               yeor and dccl.inhg l7o each year the'rca8er in
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               to pay a 2% prrcpqmcrrt penaky on thc portim of crcas principel paid.
               SECI RITY TO NOTE. Security (tte "Collateral") for this Note is granted pursuant to the following seority doourmn{s):
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                       A. Acsignmcnt of Life Ineurae Policy with a cash rralue of $0.S ard a face valuc of $5fi),000.00, dated Januuy 23, ZAn
                       widencing seruity interesil in Life lnnrance Poticy *O12411156L lssnd b1l Sadbern Farm Bureau Life Insgance Company with a
                       hold amornt of $500.0S.00.
                       B- Sesurity lnssttroent Ofonpqq.p$ of Trusgsecurity Dced) in tre amortt of $354,5fS.00- dated laqrry Z3,ml7 evidencing a
                       lien m the prgp€rty located u 18205 Highway 154 Dmrriile, AR 72g33.
                       C. Secsdty agnemeot dad Janusry 23,2017 evidarcing security iatcrcst ia AIt Parm F+ipilr€ot, Now omrcd or acguired
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             Borrower- upol the occuneme of au errot of debult, t"ender rnoy pur$re dy nd"ay available,1nd
                                                                                                              $ccuring the obligati<ns orhg to          Id€(by
             €xluity.                                                                                                      -y R"ffi D".;#g        at taw 6 in

             GENERAL wArvERs. To &e cxteat peruir€d by law, the Boffoser severally waives my required mtice of pr€ceotmsnL
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             accelerafiol' iffeot 1o accelenre, Pt{est ard ory o&er notice and defense &re to exhsions ortinre
                                                                                                                       or otb€r ilulgcd tv Go* or to any
             zubetitution or release of collatc8al No faihnc g_fUv on thc prt of tcnder, md no course of dealing
                                                                                                                           bctwe€n tr;;      .oa r.oo"", *"n
             opcratc as a ryaiva of such powcr (tr rigftt, mr shall my single or portiat exercise of my power
                                                                                                              or rigbt prectUo otlnr m ftrtrer exereise thereof
             or   tk   exemise of aoy          clrer powcr or rigfit
             JorNT AND SEVERAL LIABILITY. lf pemitted by law.               each Bonower executing tbis Note is jointty and oeverally bouad.
                                          tf   a court of
                                               eoBpet€ntjurisdictiur detennincs any term or provisian of r[is Note ir invalid orpohibitcd by
             that temt or provisiom will be ineffoctive to the errent r€$drcd- Arry ;err1 o. prouiCoa th* ba$ bcen determined tobe           rylicable law,
             ba severd &om the reg of &ir Note vieort jnvalllati4g ltc remaidOer of eitber the affected pwision
                                                                                                                                     io. did    ;
                                                                                                                                             prohibited will
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             SttRvfyAL. Tbc rights ad Ffuileg€s of the l-endcr hsrerroder shall inlrc ro the benefits of its successor$ sd assigns, aod &is Note shap
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             binding on all heiro, cxecutoc, adrninis8etors, es*igns md qrccessors of Borowcr.

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     ASSIGNABILITY- I            ryir
                                   6ay assigrr, pledge or othsvisc trlnsfer tbb Note 6 aoy of its rights sd powa'r6 rmdctr rhis Nac whbon       mtic€t
     yid, .ll or any of the obligatims owing b lrnder by Bormn'er, md in sr& evat thc assignec      *U    havi &e mc   rights as if uiginally   md
     herein in plaee of Lcndcr- Borrower aay not essigl thie Nde tr aoy bcccft accuiag ro it hcrcunator wirhmr oc cxftsc *tir1ga      Losit or*r.
     Lcndcr.
     ORAL AGRSEMENTS DISCT AIMER This Note rtpresmb the fingl agreemont between the parties nnd may not be contadicted by
     evidcnce ofprior, cont€mpo'taeaus or cubsquent rral agreenrents of the partios. rfrere are no unwrircq ord agrecrnents
                                                                                                                            bctwccn thc parties.
     GOVERNING LAW. Thfu No{€ is governd by dre hws of the stab of Arlcmsas except io the extart that fed€ral lau' controls.
     trEAIING AND GEI{DDR.'The herdbgs prwding
     limiting ineacl on thc tad wiich follom rny partiorla'r 9t T eiu Note ars for grneral convenience in idcnriSing stbject mrfrer, but have no
                                                             heading. Alt words usedln ftis Nore *all be coosmrei,r"t" .i""rt g.fr*
     as the   circumshces requirc.                                                                                                        -irr-u*
     ATT0RNEYS' trEE$ AND 0TEER cosTs. Borrower a$ees to pay all of l*ndeds oo$s and
                                                                                                      €xpeqs€s in cofitection with the enforcernent
     of sis Note including, vithout limiation, reasonable attmneys'fees, to fue uxtent per-it"d by law. '
     EtGnLY ERODIBLE LANI, AND WETLIU{D CONSERVATION. Defruh cbatl also e*is if any losr proceeds ue
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     agdculturat commodity, a* pnovidd  by ? CFR part 12.
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  deh as if they weretrlly set fortr and repeated in tbis Notc and rhat th& temg will continrro ro
                                                                                                           ;t;;lr*cnts     evidencing the cxisting
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  thoc instrumcnts. C-mscnt to ftis Nde do€$ not eaive &e rigtt to strictty eaforco my righrs nnder this
  existing debt Consent b this Noe does mt rcquiic tb€ sofrowets to erits bto another Nde
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4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 20 of 39




                                                                       EXHIBIT NO. 3
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 21 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 22 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 23 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 24 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 25 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 26 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 27 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 28 of 39




                                                                     EXHIBIT NO. 4
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 29 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 30 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 31 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 32 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 33 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 34 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 35 of 39
4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 36 of 39
                                                                             Page 1 of 3
     4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 37 of 39



 Arkansas Secretary of State
 State Capitol / Little Rock, AR 72201 / 501.682.5078


 UCC ONLINE FILING
                                                    UCC - New Filing
                                       Filing Number: 40000141726853
                                       Filing Time:     1/25/2017 09:47 AM
                                       Expiration
                                                        1/25/2022 12:00 AM
                                       Date:
                                       Reference
                                                        20170125093697637
                                       Number:
                                       Optional Filer
                                       Reference        XXXX416
                                       Data:

              Debtor (1)
              Company Name: CALEB JEREL BEENE D/B/A BEENE POULTRY FARM
              Mailing Address: 18205 HIGHWAY 154
              City:                   DANVILLE
              State:                  AR
              Zip Code:               72833
              Country:                USA

                             Debtor (1)
                             Surname:                        BEENE
                             First Personal Name:            CALEB
                             Additional Name(s)/Initial(s): JEREL
                             Suffix:
                             Mailing Address:                18205 HIGHWAY 154
                             City:                           DANVILLE
                             State:                          AR
                             Zip Code:                       72833
                             Country:                        USA

                             Debtor (1)
                             Surname:                        BEENE
                             First Personal Name:            MICHELLE



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                                                                            Page 2 of 3
    4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 38 of 39


                      Additional Name(s)/Initial(s): LYNN
                      Suffix:
                      Mailing Address:                     18205 HIGHWAY 154
                      City:                                DANVILLE
                      State:                               AR
                      Zip Code:                            72833
                      Country:                             USA

                              Secured Party (3)
                              Company Name: FIRST SERVICE BANK
                              Mailing Address: P.O. BOX 190
                              City:               GREENBRIER
                              State:              AR
                              Zip Code:           72058
                              Country:

                     ALL FARM EQUIPMENT, NOW OWNED OR ACQUIRED HEREAFTER,
                    INCLUDING BUT NOT LIMITED TO GENERATORS, TRANSFER
                    SWITCHES, FUEL TANKS, SHEDS, LINES OF FEEDERS, HOPPERS,
                    FEED LINE AUGER MOTORS, IPLUS CONTROL PANS, WINCHES FOR
                    FEED LINES, BINS, FILL SYSTEMS, DIRECT DRIVE POWER UNITS,
                    LINES OF DRINKERS, REGULATORS, MIDLINE AIR VENTS, END
                    KITS, AV SERIES TUBE BROODERS ON BROOD END, AV SERIES
                    TUBE BROODERS ON GROW OUT END, ALL LIGHTING, HIRED HAND
                    TUNNEL FANS, STIR FANS, HIRED HAND VENT FANS, VENT DOORS,
 Description of
                    VENT MACHINE, PLATINUM PLUS CONTROLLER WITH TOGGLE
 Collateral:
                    RELAY PANELS, STATIC PRESSURE MODULE, ELECTRIC WATER
                    METERS, TEMP PROBES, OUTSIDE TEMP PROBES, SURGE
                    PROTECTOR, COMMUNICATOR ALARM, COPPER WIRING,
                    MIGRATION FENCES, MEDICATORS, STEP LADDERS, TRASH CANS,
                    DRILL AND CRANKS, HAND CRANKS, LITTLER BLADE, BLOWER,
                    HOUSE KEEPERS, POULTRY HOUSE WASHER, AND ASSIGNMENT OF
                    GROWER CHECKS BETWEEN BORROWER AND WAYNE FARMS,
                    LLC, ASSIGNMENT OF LIFE INSURANCE POLICY NUMBER
                    012412356L ON CALEB JEREL BEENE IN THE AMOUNT OF $500,000.00

                                Alternative Designation (if applicable):
                                       Lessee/Lessor
                                       Consignee/Consignor
                                       Bailee/Bailor
                                       Seller/Buyer
                                       Licensee/Licensor




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                                                                            Page 3 of 3
    4:19-bk-11110 Doc#: 9 Filed: 03/12/19 Entered: 03/12/19 16:59:27 Page 39 of 39


       This FINANCING STATEMENT is to be filed [for record](or recorded) in the REAL
       ESTATE RECORDS.
                              This FINANCING STATEMENT covers:
                                  timber to be cut
                                  as-extracted collateral
                                  is filed as a fixture filing.
                                       Description of Real
                                       Estate:

                                       Name and address of a
                                       RECORD OWNER of
                                       above-described real
                                       estate (if Debtor does not
                                       have a record interest):

                 Collateral is:
                       held in a trust
                       being administered by a Decedent's Personal Representative

                   Not Applicable
               X   Ag. Lien
                   Non-UCC Filing


               X   Not Applicable
                   Debtor is a Transmitting Utility
                   Filed in connection with a Manufactured-Home Transaction - effective 30 years.
                   Filed in connection with a Public-Finance Transaction - effective 30 years.




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